                Case 2:16-cr-00046-GMN-PAL Document 3117 Filed 01/08/18 Page 1 of 1
2 AO 245A (Rev. 12/03) Judgment of Dismissal


                                    UNITED STATES DISTRICT COURT
                                                            DISTRICT OF      NEVADA

          UNITED STATES OF AMERICA
                                                                    JUDGMENT OF DISMISSAL
                             V.

               CLIVEN D. BUNDY,
                                                                    CASE NUMBER: 2:16-cr-00046-GMN-PAL-1-4
                RYAN C. BUNDY,
              AMMON E. BUNDY, and
                RYAN W. PAYNE,




      IT IS ORDERED that the Superseding Criminal Indictment against Defendants Cliven D.
Bundy, Ryan C. Bundy, Ammon E. Bundy and Ryan W. Payne is DISMISSED WITH PREJUDICE.




Signature of Judge

Gloria M. Navarro, Chief Judge U.S. District Court
Name of Judge                              Title of Judge

 January 8, 2018
                                  Date
